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6                              UNITED STATES DISTRICT COURT
7                                    DISTRICT OF NEVADA
8                                                ***
9    UNITED STATES OF AMERICA,                        Case No. 3:12-cr-00121-MMD-WGC
10                                       Plaintiff,                    ORDER
            v.
11
     BRET OGILVIE AND LINWOOD TRACY,
12   JR.,
13                                  Defendants.
14

15          Defendant Linwood Tracy has continued to file motions, objections, and notices

16   that are frivolous despite the Court’s admonishment at the hearing held on April 17,

17   2013. This Order summarily denies the pending motions and objections and strikes

18   improperly filed “Notices.”

19          Defendant filed an objection and notice (dkt. nos. 155 and 156) which challenge

20   the Court’s April 22, 2013, Order (“Order”). The Court construes these filings as a

21   request for reconsideration. However, Defendant fails to raise any persuasive

22   arguments to cause the Court to reconsider its earlier rulings.

23          The following “Notices” are stricken pursuant to the Court’s Order (dkt. no. 152):

24   docket nos. 154, 157, 161, 162, 163, 164, 172, 174, 182.

25          The following motions are premised on the same previously rejected argument

26   that the IRS is not an agency of the United States: docket nos. 1641 and 165. As the

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28           Docket no. 164 was filed as a “Notice.”
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1    Court explained in its earlier Order, that the IRS is an agency of the United States

2    cannot be seriously contested. (Dkt. no. 152 at 2.) For the reasons articulated in the

3    Order, these motions are denied. In addition, Defendant’s request to file docket no.

4    171, which Defendant contends establishes that the IRS is not a proper agency of the

5    United States, is denied.

6          Defendant filed three motions for default judgment against the United States.

7    (Dkt. nos. 175, 178, and 179.) The government moved to strike two of these motions

8    and requested that the Court impose sanctions for each document filed in violation of

9    the Court’s Order. Docket no. 175 claims the government failed to respond to a

10   document dated June 19, 2013. Defendant appears to refer to docket no. 163, which

11   was improperly filed as a “Notice.” Docket nos. 178 and 179 challenge the government’s

12   responses to two of Defendant’s “Notices” as untimely.      The government need not

13   respond to “Notices” that were not properly filed.    Defendants’ motions for default

14   judgment, docket nos. 175, 178 and 179, are therefore denied.        The government’s

15   motion to strike is granted. Docket nos. 175, 178 and 179 are ordered stricken.

16         Defendant is admonished to cease filing frivolous notices and motions reiterating

17   arguments previously rejected by the Court. As the Court explained at the April 17,

18   2013, hearing, Defendant has properly preserved these arguments for appeal.

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           DATED THIS 24th day of July 2013.
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22                                                  MIRANDA M. DU
                                                    UNITED STATES DISTRICT JUDGE
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